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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


  Lourdes Paulino,

                           Plaintiff,               Civ. No. 1:20-cv-03921-KPF

            – against–                              NOTICE OF SETTLEMENT AS TO
                                                    EQUIFAX INFORMATION
  Synchrony Bank d/b/a Walmart, Inc.,               SERVICES, LLC ONLY
  TransUnion LLC and Equifax Information
  Services, LLC,

                           Defendants.


       Plaintiff Lourdes Paulino respectfully submits this Notice of Settlement to inform the
Court as follows:
       1. Plaintiff and Defendant Equifax Information Services, LLC have reached an

           agreement in principle and are in the process of finalizing a confidential settlement

           agreement.

       2. Plaintiff will file a Stipulation of Dismissal once the terms of the settlement

           agreement have been completed.

       3. Accordingly, Plaintiff respectfully requests that Defendant Equifax Information

           Services, LLC be excused from all future appearances and deadlines until this matter

           is dismissed.

Dated: October 31, 2020                 Law Offices of Robert S. Gitmeid & Associates, PLLC

                                        /s/ Adham M. Elsayed
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Application GRANTED. All deadlines and conferences are hereby
adjourned as to Defendant Equifax Information Services, LLC.
Furthermore, the Court ORDERS that this action be conditionally
discontinued solely as to Defendant Equifax Information Services, LLC
without prejudice and without costs; provided, however, that within 30
days of the date of this Order, the parties may submit to the Court
their own Stipulation of Settlement and Dismissal for the Court to So
Order. Otherwise, within such time Plaintiff may apply by letter for
restoration of the action as to Defendant Equifax Information
Services, LLC to the active calendar of the Court in the event that
the settlement is not consummated. Upon such application for
reinstatement, the parties shall continue to be subject to the Court’s
jurisdiction, the Court shall promptly reinstate the action as to
Defendant Equifax Information Services, LLC to its active docket, and
the parties shall be directed to appear before the Court, without the
necessity of additional process, on a date within ten (10) days of the
application, to schedule remaining pretrial proceedings and/or
dispositive motions, as appropriate. This Order shall be deemed a
final discontinuance of the action solely as to Defendant Equifax
Information Services, LLC with prejudice in the event that Plaintiff
has not requested restoration of the case to the active calendar
within such 30-day period.

The Clerk of Court is directed to terminate all pending motions,
adjourn all remaining dates, and close this case solely as to
Defendant Equifax Information Services, LLC.



Dated:   November 2, 2020               SO ORDERED.
         New York, New York



                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE
